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Press Releases

News Briefs ". ISLAMIC SOCIETY OF NORTH AMERICA, HLF
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; eer pare . The Islamic Society of North America (ISNA) applauds the hard work and diligence that the jury has put into
OF, uate Ly tok i deliberating the evidence presented in the federal prosecution of the Holy Land Foundation and other

so defendants. Regrettably, despite the hard work of the jury, the charges brought in this trial could not be
resolved and a mistrial has been declared for the majority of the counts,

Even in the face of this outcome, ISNA continues to believe in the values of fairness, justice and due
rater a = process that are exhibited and reinforced through such an open, public hearing, which is based on the

principle that one is innocent until proven guilty in a court of law after a fair opportunity to refute allegations:
fe Bes statec and to confront ail witnesses.

Unfortunately, ISNA itself has been denied its rights to fairness, justice, and due process in this trial. In
spite of the assurance that ISNA’s lawyers received from the Assistant U.S. Attorney that ISNA was not
under investigation, was not involved in any criminal conspiracy or other iflegal activities, and was not a
target of this prosecution, ISNA remains unjustly branded by the government as an unindicted co-
conspirator. In the absence of any evidence to the contrary, and confirmation by the Assistant U.S.
Attorney that the inclusion of ISNA on the list of unindicted coconspirators was merely a prosecutorial tactic
to introduce otherwise inadmissible information, ISNA reiterates its continued public request for the U.S.
Government to set the record straight by removing ISNA‘s name from this list. ISNA will continue to
vigorously employ all legal avenues available to the organization to get its name removed from the list of
unindicted co-conspirators,

The mischaracterization of ISNA has profoundly harmed its reputation, and has adversely impacted the
' Organization’s efforts to advance its mission to provide a common platform for representing Islam,
supporting Muslim communities, developing educational, social and outreach programs and fostering good
relations with other religious communities, civic and service organizations and all levels of government.

To be clear, ISNA refnains-Consistent in its rejection of terrorism and violence. ISNA rejects all acts of

terrorism, including those perpetrated by Hamas, Hizbullah and any other group that claims Islam as their

inspiration, ISNA:has encouraged and continues to encourage a just and fair settlement of disputes between

Israel, the Palestinians and theirineighbors through diplomacy and other peaceful means.

ISNA is an independent, open and. transparent membership organization that strives to be an exemplary and

unifying Islamic organization i in North America by contributing to the betterment of the Muslim community

and society at large..ISNA remaing.an independent North American institution and never was, and is not
now, affiliated with or influenced by any international organizations including the Muslim Brotherhood.

ISNA is committed to freedom, to eradicating prejudice and to creating a society where Muslims can live

peacefully and prosper alongside other Americans from all walks of life and diverse traditions and faith.

Related Links “

A Mistrial Trial: What Does it Mean’?
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